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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF MISSOURI
                                       EASTERN DIVISION

  UNITED STATES OF AMERICA,                      )
                                                 )
             Plaintiff,                          )
                                                 )
       v.                                        ) No. 4:15-CR-404 HEA NAB
                                                 )
  JOSE ALFREDO VELAZQUEZ, et al.,                )
                                                 )
             Defendants.                         )

                                                ORDER

            All pretrial matters in this cause have been referred to the undersigned pursuant to 28

  U.S.C. §636(b). The undersigned previously granted the Government’s motions for a complex

  case finding as to the First, Second and Third Superseding Indictments [Doc. #186, Doc. #360,

  Doc. #476]. Following the filing of the Fourth Superseding Indictment, the Government filed a

  supplemental motion for a complex case finding [Doc. #744]. In support of the motion, the

  Government stated that:

     1.     On January 14, 2016, the Government filed its original Motion for a Complex Case

            Finding. Doc. # 101. On February 18, 2016, the Grand Jury returned the second

            superseding indictment that added three additional defendants and an additional count.

            Doc. # 244. Thereafter, the Government filed a Renewed Motion for Complex Case

            Finding, and the Magistrate Court [sic] issued its Order consistent with the Government’s

            Motion. Doc. #’s 355, 360.      On April 14, 2016, the Grand Jury returned a third

            superseding indictment that added six additional defendants and eleven new counts, for a

            total of twenty-seven defendants and thirty-two counts.
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     2. On December 1, 2016, the Grand Jury returned a fourth superseding indictment that

        added seven additional defendants for a total of thirty-four defendants and fifty-six

        counts.

     3. Seven of the defendants are charged with death eligible offenses.

     4. The government estimates that the trial in this case would last multiple weeks depending

        upon the number of defendants electing to proceed to trial. A more accurate estimate can

        be made when the number of defendants electing to go to trial has been determined.

     5. There are multiple factors contributing to the complexity of this case:

            A. The discovery in this case is voluminous and includes numerous separate Title III

                  applications, affidavits, and orders that resulted in thousands of contacts by either

                  electronic or wire communications for several target telephones.

            B. There were a large number of search warrants executed during this long term

                  investigation which resulted in the seizure of physical evidence or data from

                  phones seized during the investigation. Much of this evidence relates to a high

                  volume of electronic data obtained from searches of cellular phones or electronic

                  devices. Moreover, investigators have recently executed at least eight additional

                  search warrants of real property, in which additional evidence has been seized.

            C. There were multiple applications for Precision Location Warrants or other process

                  and orders related to the investigation.

            D. There are multiple arguably suppressible events that occurred during the course of

                  this extended investigation, which lasted approximately two years. Defense

                  counsel will need time to consider the potential issues.

            E. There is the potential of Rule 404(b) evidence pertaining to several defendants.



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           F. Several of the charged offenses are death eligible. The Government is currently

               processing materials related to a determination from the Attorney General for

               permission to seek or not seek the death penalty.

     6. On or about March 9, 2016, the Government began providing discovery to counsel. The

        discovery included a dual layer DVD, with more than 11,000 pages of documents. The

        Government also disclosed seventeen additional discs, which included nine compact

        discs containing Title III intercepts and related materials. This is a large portion of the

        discovery materials that will be provided in this case.

     7. The Government provided a second batch of disclosure on or about May 9, 2016. Much

        of these materials will be related to seizures that occurred during the weeks of January 13

        and 29, 2016, and April 15, 2016. There will be additional searches of a large number of

        items of digital media that were seized during ongoing investigations.

     8. Although the Government has engaged in meetings with groups of defense counsel

        relative to the initial disclosure in this matter, the Government is also anticipating

        individual meetings with defense counsel and defendants to assist the parties with a

        review of discovery materials and evidence in this case.

     9. The government has been working on the investigation for some time and would be

        prepared to try this case within the time limits set forth under the Speedy Trial Act.

        However, the government recognizes that in light of the number of defendants, the nature

        of the conspiracy charges, and the sheer volume of discovery, it is unreasonable to expect

        the defense to have adequate preparation for pretrial proceedings or for the trial itself

        within the time limits established by the Speedy Trial Act.




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     10. Additional time would likely assist defendants and defense counsel in fully reviewing

         discovery, deciding whether to file pretrial motions, and preparing for trial and/or

         completing plea negotiations with the government.

         On December 16, 2016, the undersigned held a status conference in this cause.

  Government counsel were present, along with counsel for Defendants.           At the conference,

  counsel for the Government stated the grounds for a complex case finding.            Counsel for

  Defendants had no objection. The parties agreed that pretrial motion deadlines should be set for

  the defendants who are not being charged with death eligible counts.            Accordingly, the

  undersigned set a pretrial motion deadline of May 5, 2017 for the defendants who are not facing

  death eligible counts in the indictment.

         Counsel agreed that a pretrial motion deadline would be premature for the defendants

  who are charged in death penalty eligible counts and that another status conference should be set

  on March 31, 2017. For the reasons set out in the Government’s motion and on the record at the

  status conference, the Court will grant the Government’s motion and make a complex case

  finding.

         Accordingly,

         IT IS HEREBY ORDERED that the Government’s Supplemental Motion for Complex

  Case Finding and to Continue Trial Date Beyond Limits Set by the Speedy Trial Act [Doc. #744]

  is GRANTED.

         Speedy Trial Finding: For the reasons set out in the Government’s motion and on the

  record at the December 16, 2016 status conference, the Court finds that the case is a “complex

  case” as defined in Title 18, United States Code, Section 3161(h)(7)(B)(ii). In addition, pursuant

  to 18 U.S.C. § 3161(h)(7)(A) and (B)(i), the trial of this matter should be continued past the



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  limits set by the Speedy Trial Act because the ends of justice served by continuing this case

  outweigh the best interest of the public and the defendants in a speedy trial, the case is so

  unusual and complex that it is unreasonable to expect adequate preparation for pretrial

  proceedings, and the failure to exclude this period would likely result in a miscarriage of justice.

          IT IS FURTHER ORDERED that a Status Conference for the death penalty eligible

  defendants is set on Friday, March 31, 2017 at 9:00 a.m. in the courtroom of the undersigned.

  Only counsel need be present.

          IT IS FURTHER ORDERED that Defendants who are not charged with death penalty

  eligible counts shall have to and including May 5, 2017 to file any pretrial motions or waiver of

  motions. The government shall have until May 19, 2017 to respond. Defendants shall have to

  and including May 26, 2017 to reply. The evidentiary hearings are set for June 5 and June 6,

  2017.

          Dated this 19th day of December, 2016.



                                                              /s/ Nannette A. Baker
                                                        NANNETTE A. BAKER
                                                        UNITED STATES MAGISTRATE JUDGE




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